This court has made a careful study of the record in order to ascertain whether the transfer petition contained sufficient signatures of resident electors to make it mandatory upon the county board of education to transfer the territory involved, but the court will not make a detailed analysis of the status of the signers on the transfer petition, the withdrawals and the withdrawal therefrom.
There is a conflict in the testimony as to whether certain persons were residents or electors at the time the mandamus petition was filed or when the Court of Appeals issued the peremptory writ. To determine the actual number of signers at either of the times stated would require this court not only to weigh the evidence but to determine credibility of testimony. Since this court does not weigh the evidence and there is a presumption in favor of the correctness of the decision of the Court of Appeals, its judgment will be affirmed.
Judgment affirmed.
WEYGANDT, C.J., MATTHIAS, DAY, ZIMMERMAN, WILLIAMS, MYERS and GORMAN, JJ., concur. *Page 284 